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                                                                                            FILED
                                                                                             MAR 10 2022
                                 UNITED STATES DISTRICT COURT                          Clerk, U.S. District & Bankruptcy
                                 FOR THE DISTRICT OF COLUMBIA                          Court for the District of Columbia

                                                                             Case: 1:22−cv−00722
    JOHN DOE,                                                                Assigned To : Pan, Florence Y.
                                                                             Assign. Date : 3/10/2022
                            Plaintiff,                                       Description: Employ. Discrim. (H−DECK)
                                                                   Civil Action No.
                            v.
                                                                   Chief Judge Beryl A. Howell
    MERRICK B. GARLAND, et al.,

                            Defendants.

                                   MEMORANDUM AND ORDER

        Plaintiff, a former Assistant Special Agent within the Office of Personnel

Management’s Office of Inspector General (“OPM-OIG”), who is currently employed by

another federal agency and holds a Top Secret security clearance, has moved “to proceed

without his home address in the Complaint” and “anonymously,” Pl.’s Mot. to Proceed

Anonymously (“Pl.’s Mot.”) at 1, in his instant action alleging discrimination on the basis of

race, id. For the reasons set forth below, the motion is granted in part and denied in part,

subject to any further consideration by the United States District Judge to whom this case is

randomly assigned. 1 Plaintiff’s request to proceed under pseudonym is denied, but plaintiff

may file his residence address under seal, in exception to D.D.C. LCvR 5.1(c) and 11.

I.      BACKGROUND

        Plaintiff is “a black man who has a long and distinguished career in law enforcement,”

Compl. ¶ 14, dating back as early as 1995, id. ¶ 16. In August 2009, he was hired by OPM-




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         The instant motion has been directly referred to the undersigned Chief Judge for resolution. See D.D.C.
LCvR 40.7(f) (providing that the Chief Judge shall “hear and determine . . . in any case not already assigned:
motion to seal the complaint, motion to seal the address of the plaintiff, and motion to file a pseudonymous
complaint”); see also D.D.C. LCvR 5.1(h)(1) (“Absent statutory authority, no case or document may be sealed
without an order from the Court.”).


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OIG as a Special Agent/Criminal Investigator. Id. ¶ 19. Over the course of his tenure there,

he received multiple awards and promotions, eventually becoming, by 2017, supervisor of the

“Special Investigations Unit, Headquarters Operations.” Id. ¶¶ 21–22, 27. Then, in May

2017, plaintiff’s supervisor changed, id. ¶ 30, and his new supervisor, one of the named

defendants in this lawsuit, allegedly “initiated a campaign to strip [plaintiff] of his duties and

responsibilities,” id. ¶ 31, which eventually lead to plaintiff’s departure from the office “in

September 2021 due to disparate treatment, retaliation, and a hostile working environment,”

id. ¶ 25.

        Plaintiff now brings this suit alleging discrimination, retaliation, and hostile work

environment on the basis of race, in violation of Title VI of the Civil Rights Act. Id. ¶¶ 71–

80. Plaintiff seeks to proceed under pseudonym, and to file his full residence address under

seal, because, as the holder of “a Top Secret level security clearance which provides him with

access to information that is classified,” including information related to “highly sensitive

national security matters,” he “must guard himself against situations that could place him at

risk for compromising information.” Pl.’s Mot. at 1. He further argues that pseudonymity is

appropriate because “[t]he need to hold Defendants accountable for their actions should not be

at the risk of Plaintiff’s ability to maintain his ability to protect his identity.” Id.

II.     LEGAL STANDARD

        Generally, a complaint must state the names of the parties and address of the plaintiff.

FED. R. CIV. P. 10(a) (“The title of the complaint must name all the parties.”); F ED. R. CIV. P.

11(a) (requiring “[e]very pleading, written motion, and other paper,” including submissions

by an unrepresented party, to “be signed” with “the signer’s address, e-mail address, and

telephone number”); LC VR 5.1(c)(1) (“The first filing by or on behalf of a party shall have in




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the caption the name and full residence address of the party,” and “[f]ailure to provide the

address information within 30 days of filing may result in the dismissal of the case against the

defendant.”); LCvR 11.1 (same requirement as LCvR 5.1(c)(1)). The Federal and Local

Rules thus promote a “presumption in favor of disclosure [of litigants’ identities], which

stems from the ‘general public interest in the openness of governmental processes,’ and, more

specifically, from the tradition of open judicial proceedings.” In re Sealed Case, 931 F.3d 92,

96 (D.C. Cir. 2019) (internal citations omitted) (quoting Wash. Legal Found. v. U.S.

Sentencing Comm’n, 89 F.3d 897, 899 (D.C. Cir. 1996)). That “presumption of openness in

judicial proceedings is a bedrock principle of our judicial system.” In re Sealed Case, 971

F.3d 324, 325 (D.C. Cir. 2020) (citing Courthouse News Serv. v. Planet, 947 F.3d 581, 589

(9th Cir. 2020)). Accordingly, courts “generally require parties to a lawsuit to openly identify

themselves to protect the public’s legitimate interest in knowing all of the facts involved,

including the identities of the parties.” Id. at 326 (internal quotation marks and alterations

omitted) (quoting United States v. Microsoft Corp., 56 F.3d 1448, 1463 (D.C. Cir. 1995) (per

curiam)).

       Despite the presumption in favor of disclosure, the Federal Rules of Civil Procedure

provide a narrow set of circumstances in which a party or nonparty’s name or other personal

information may be redacted to protect privacy by limiting public access. See, e.g., FED. R.

CIV. P. 5.2 (a) (requiring, “[u]nless the court orders otherwise,” use of only initials for minors,

and only partial birthdates and social-security, taxpayer-identification, and financial account

numbers); FED. R. CIV. P. 5.2(e)(1) (authorizing court order, for good cause, to “require

redaction of additional information”).




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        Courts also, in special circumstances, may permit a party to proceed anonymously. A

party seeking to do so, however, “bears the weighty burden of both demonstrating a concrete

need for such secrecy, and identifying the consequences that would likely befall it if forced to

proceed in its own name.” In re Sealed Case, 971 F.3d at 326. Once that showing has been

made, “the court must then ‘balance the litigant’s legitimate interest in anonymity against

countervailing interests in full disclosure.’” Id. (quoting In re Sealed Case, 931 F.3d at 96).

When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6 F.3d

233, 238 (4th Cir. 1993), serve as “guideposts from which a court ought to begin its analysis.”

In re Sealed Case, 931 F.3d at 97. These five factors are:

        (1) whether the justification asserted by the requesting party is merely to avoid the
        annoyance and criticism that may attend any litigation or is to preserve privacy in
        a matter of [a] sensitive and highly personal nature; (2) whether identification
        poses a risk of retaliatory physical or mental harm to the requesting party or[,]
        even more critically, to innocent non-parties; (3) the ages of the persons whose
        privacy interests are sought to be protected; (4) whether the action is against a
        governmental or private party; and relatedly, (5) the risk of unfairness to the
        opposing party from allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).

        At the same time, a court must not simply “engage in a wooden exercise of ticking the

five boxes.” Id. Rather, the “balancing test is necessarily flexible and fact driven” and the

five factors are “non-exhaustive.” In re Sealed Case, 971 F.3d at 326. In exercising discretion

“to grant the ‘rare dispensation’ of anonymity . . . the court has ‘a judicial duty to inquire into the

circumstances of particular cases to determine whether the dispensation is warranted’ . . .

tak[ing] into account the risk of unfairness to the opposing party, as well the customary and

constitutionally-embedded presumption of openness in judicial proceedings.” Microsoft

Corp., 56 F.3d at 1464 (quoting James, 6 F.3d at 238 (other internal citations and quotation

marks omitted)).



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III.   DISCUSSION

       At this early stage of the litigation, this Court is not persuaded that plaintiff has met

the burden of showing that his privacy interests outweigh the public’s presumptive and

substantial interest in knowing his identity. Plaintiff has articulated no privacy interest

sufficient to rebut the presumption in favor of open proceedings.

       Plaintiff addresses the first two James factors—whether the request to proceed

pseudonymously is motivated by a desire “merely to avoid . . . annoyance [or] criticism,” or

to “preserve privacy in a matter of [a] sensitive and highly personal nature,” and whether

disclosure of his identity “poses a risk of retaliatory physical or mental harm to the requesting

party or[,] even more critically, to innocent non-parties,” In re Sealed Case, 931 F.3d at 97—

in tandem. Plaintiff argues that pseudonymity is justified because he “holds the highest level

of security clearance” and “is privy to classified information required to perform his job

duties as an investigator,” and as such proceeding “under his name creates a danger that he

will be over-exposed, creating too much public attention” and exposing him “to a far greater

risk of being targeted for threats of violence or retaliation from subjects of investigation, or

exploitation by foreign intelligence entities.” Pl.’s Mot. at 2–3.

       Both of these factors weigh against plaintiff. Plaintiff’s ambiguous fears of

overexposure, based on his holding of a high-level security clearance, appear, at this stage,

more akin to a mere desire “to avoid the annoyance and criticism that may attend any

litigation.” In re Sealed Case, 931 F.3d at 97. The mere fact that plaintiff holds a high-level

security clearance, as do hundreds, if not thousands, of others in the Washington, D.C. area, is

insufficient to rebut the “constitutionally-embedded presumption of openness in judicial

proceedings.” Microsoft Corp., 56 F.3d at 1464. Furthermore, plaintiff is suing his former




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supervisor and others at OPM-OIG, at least one of whom is apparently still employed in the

office, see Compl. at 1–2, and using their full names to do so, but plaintiff offers no

explanation why using defendants’ full names does not create the same risks for violence,

retaliation, or exploitation to OPM-OIG’s investigations and operational team. Nor does

plaintiff elaborate on the risks proceeding under his own name will pose to him in his new

employment, given that he has left OPM-OIG and now works for “another federal agency not

involved in the alleged acts.” Pl.’s Mot. at 1.

       While this Court has in the past granted pseudonymity to plaintiffs working in national

security, the decision to do so was based on expansive allegations of the risks to plaintiffs’

safety and national security roles presented by using their real names, rather than thin and

vague assertions as plaintiff offers here. See, e.g., Bird v. Barr, No. 19-cv-1581 (BAH), 2019

WL 287023, at *5 (D.D.C. July 3, 2019) (granting motion to proceed under pseudonyms

where plaintiffs each “submitted a declaration detailing how her safety and career could be

jeopardized if her name were to be revealed,” including because she worked “in an

undercover position,” worked “with foreign military personnel and fear[ed] her interaction

with them could be impaired if her role in this case were known,” and feared that “public

exposure could directly interfere with her cases . . . supporting NYC’s Counter-Terrorism

squad”).

       The third James factor also weighs slightly against granting plaintiff’s motion, as

plaintiff is an adult and does not allege the interests of minor children are at stake. See In re

Sealed Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238).

       As for the fourth James factor, “there is a heightened public interest when an

individual or entity files a suit against the government,” In re Sealed Case, 971 F.3d at 329, as




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in the instant lawsuit. Thus, this factor weighs against granting plaintiff’s motion for

anonymity. Cf id. (describing public interest as particularly great where regulated entity sued

government agency regarding “special exemptions” from statutory obligations).

       The fifth James factor, however, weighs in favor of granting plaintiff’s request, as

defendants would suffer no “risk of unfairness” if the motion were granted. In re Sealed

Case, 931 F.3d at 97. The plaintiff’s identity is already known to defendants through

plaintiff’s complaint before the EEOC administrative process. Pl.’s Mot. at 3. Thus, allowing

the plaintiff to proceed pseudonymously would not compromise the defendants’ ability to

defend this action.

       Taking these factors together, plaintiff has presented no compelling justification for

“the rare dispensation of pseudonymous status,” In re Sealed Case, 971 F.3d at 328, and thus

has failed to demonstrate a need for secrecy or identify consequences likely to befall plaintiff

if he proceeds in his own name.

       At the same time, the Court will grant plaintiff’s request not to provide his address by

waiving the requirements of D.D.C. LCvR 5.1(c) and 11, which requirements are currently

under consideration by the Court for revision. See Notice of Proposed Local Rule Change

and Opportunity To Comment as to LCvR5.1(c)(1). 11.1, 7(k), available at:

https://www.dcd.uscourts.gov/sites/dcd/files/local_rules/Post.pdf. Plaintiff may instead file

his full residence address under seal, as he requests. Pl.’s Mot. at 1.

IV.    CONCLUSION AND ORDER

       For the foregoing reasons, it is hereby




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          ORDERED that the plaintiff’s Motion to Proceed Anonymously is GRANTED IN

PART and DENIED IN PART, subject to any further consideration by the United States

District Judge to whom this case is randomly assigned; it is further

          ORDERED that the plaintiff’ request to proceed under pseudonym is DENIED; it is

further

          ORDERED that the plaintiff’s request to file his full residence address under seal is

GRANTED; it is further

          ORDERED that the Clerk of Court shall not file plaintiff’s Complaint on the docket

unless it is filed with plaintiff’s full name, in accordance with this Memorandum and Order.

          SO ORDERED.

          Date: March 10, 2022
                                                       __________________________
                                                       BERYL A. HOWELL
                                                       Chief Judge




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